Case 1:22-cv-01257-GBW Document 47-1 Filed 08/24/23 Page 1 of 1 PageID #: 837

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                                          August 24, 2023
BY CM/ECF & HAND DELIVERY
The Honorable Gregory B. Williams
United States District Court
844 N. King Street
Wilmington, DE 19801
          Re:    RoboticVISIONTech, Inc. v. ABB Inc., C.A. No. 22-1257-GBW
Dear Judge Williams:
       I write on behalf of the parties to report that we have reached an agreed-upon Scheduling
Order, a copy of which is enclosed.

          There is one remaining issue that RVT would like to bring to the Court’s attention:

         RVT would like to request the Court allot 10 days for trial, from April 21 – May 1, 2025.
          The Court has currently allotted five days for trial beginning April 21, 2025. This case
          involves three asserted patents, five asserted trade secrets, copyrighted source code,
          willfulness, and multiple different damages models. RVT believes that five days will not
          be enough time to adequately present the numerous complex technical issues in this case.

         ABB takes no position on this request.

       The parties are available at the Court’s convenience to respond to any questions or
concerns that Your Honor may have.

                                                       Respectfully submitted,

                                                       /s/ John W. Shaw

                                                       John W. Shaw (No. 3362)

cc:       Clerk of the Court (by CM/ECF & Hand Delivery)
          All counsel of record (by CM/ECF and e-mail)
